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                                EXHIBIT 16
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 John Y. Bonds, III                              Deborah Deitsch-Perez
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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                            §                                Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
v.                                 §                               Adversary No. 21-03003-sgj
                                   §
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

           DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
                 TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
              SECOND REQUEST FOR PRODUCTION OF DOCUMENTS

TO:      Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

         Defendant James Dondero (“Defendant” or “Dondero”) serves his Objections and

Responses to Debtor Highland Capital Management, L.P.’s (“Debtor” or “Highland”) Second

Request for Production of Documents (“Requests”), as follows:




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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Dated: May 7, 2021                       Respectfully submitted,

                                         /s/Deborah Deitsch-Perez


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                                         Clay M. Taylor
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                                         -and-

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DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR PRODUCTION OF DOCUMENTS                                  PAGE 2 OF 5
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                              CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on May 7, 2021, a true and correct copy of the
foregoing document was served via email on counsel for the Debtor.


                                                  /s/ Michael P. Aigen
                                                  Michael P. Aigen




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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                                      OBJECTIONS AND RESPONSES1

REQUEST FOR PRODUCTION NO. 1: All Documents and Communications Concerning the
“conditions subsequent” referred to in paragraph 40 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Dondero will produce all responsive documents, if any, at
a mutually agreeable place and time.

REQUEST FOR PRODUCTION NO. 2: All Documents and Communications Concerning the
“mutual obligation owed to James Dondero by the Debtor under state and/or federal law,” as
alleged in paragraph 41 of the Amended Complaint, including (a) all Documents Concerning the
alleged mutual obligation, and (b) all demands made by James Dondero to the Debtor for payment
of the alleged mutual obligation.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Dondero will produce all responsive documents, if any, at
a mutually agreeable place and time.

REQUEST FOR PRODUCTION NO. 3: All proofs of claim filed by James Dondero in the
Bankruptcy Case Concerning the alleged mutual obligation referred to in paragraph 41 of the
Amended Complaint.

RESPONSE:

         Dondero is not aware of any responsive documents.

REQUEST FOR PRODUCTION NO. 4: All Documents and Communications Concerning the
“debt” allegedly owed by the Debtor to James Dondero, as alleged in paragraph 41 of the Amended
Complaint, including (a) all Documents Concerning the alleged debt, and (b) all demands made
by James Dondero to the Debtor for payment of the alleged debt.




1
  Defendant makes these responses subject in all respects to his Motion for Withdrawal of the Reference [Adv. Dkt.
No. 21] and the Motion to Stay Pending the Motion to Withdraw the Reference of Plaintiff’s Complaint [Adv. Dkt.
No. 22] filed on April 15, 2021. For the reasons stated in the motions, Defendant believes that the reference should be
withdrawn and this proceeding stayed while the motion to withdraw the reference is considered. Defendant does not
waive, but instead hereby preserves, his right to a jury trial and all rights and requests for relief asserted in the motions.
Defendant does not consent to the Bankruptcy Court determining this proceeding or entering final orders or judgments
in this proceeding. Defendant requests that the reference be withdrawn and that the District Court adjudicate this
proceeding.
DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR PRODUCTION OF DOCUMENTS                                                                     PAGE 4 OF 5
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RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Dondero will produce all responsive documents, if any, at
a mutually agreeable place and time.

REQUEST FOR PRODUCTION NO. 5: All proofs of claim filed by James Dondero in the
Bankruptcy Case Concerning the alleged debt referred to in paragraph 41 of the Amended
Complaint.

RESPONSE:

       Dondero is not aware of any responsive documents. In any event, Debtor has possession
custody and control over all filed proofs of claim.

REQUEST FOR PRODUCTION NO. 6: All Documents and Communications Concerning
James Dondero’s affirmative defense that “each note is ambiguous,” as alleged in paragraph 45 of
the Amended Complaint.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Dondero will produce all responsive documents, if any, at
a mutually agreeable place and time.




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR PRODUCTION OF DOCUMENTS                                  PAGE 5 OF 5
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